          Case 15-40727 Doc 46 Filed 04/10/19 Entered 04/10/19 09:18:19                          Desc Main
                                 Document
                     UNITED STATES  BANKRUPTCYPageCOURT,
                                                   1 of 1 NORTHERN
                        DISTRICT OF ILLINOIS, EASTERN DIVISION

RE: LIAQUAT HUSSAIN                                            )       Case No. 15 B 40727
                                                               )
                                                               )       Chapter 13
                               Debtor(s)                       )       Judge: CAROL A. DOYLE

                                              NOTICE OF MOTION

TO:    Liaquat Hussain                                         Sulaiman Law Group LTD
       1051 Ridgeview Dr.                                      via Clerk’s ECF noticing procedures
       Inverness, IL 60010

Please take notice that on the 30th day of April 2019 at 9:15 a.m., I or my designee will appear before the
Honorable Judge CAROL A. DOYLE in Courtroom 742, 219 S. Dearborn St., Chicago, Illinois, and present the
motion set forth below.

I certify that this office caused a copy of this notice to be delivered to the above listed parties by depositing it in
the U.S. Mail at 55 E. Monroe St., Chicago, IL on April 10, 2019.
                                                                                /s/ Tom Vaughn

                           TRUSTEE’S MOTION TO OBJECT TO DISCHARGE

Now comes Tom Vaughn, Trustee in the above entitled case and moves the Court to enter an order determining
that debtor is not entitled to a discharge, stating as follows:

   1. Debtor (s) filed the above- captioned Chapter 13 case on November 30, 2015.

   2. The plan was confirmed on February 2, 2016.

   3. The debtor filed a previous Chapter 7 case, #13 B 46400 filed on December 2, 2013, discharge issue on
      October 20, 2015.

   4. Pursuant to 11 U.S.C. Section 1328(f), “the court shall not grant a discharge of all debts provided for in
      the plan or disallowed under section 502, if the debtor received a discharge--
          (1) in a case filed under chapter 7,11, or 12 of this title during the 4-year period preceding the date
              of the order for relief under this chapter, or
          (2) in a case filed under chapter 13 of this title during the 2-year period preceding the date of such
              order.”

   Wherefore Trustee prays that the Court enter an order that the debtor or debtors are not entitled to a
   discharge.
                                                                       Respectfully submitted,
                                                                      /s/ Tom Vaughn
Tom Vaughn
Chapter 13 Trustee
55 E. Monroe St., Suite 3850
Chicago, IL 60603
(312) 294-5900
